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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY
                                  NEWARK VICINAGE

   OCCIDENTAL CHEMICAL CORPORATION                  )   Hon. Madeline Cox Arleo
                                                    )   Hon. Joseph A. Dickson
                                                    )
          Plaintiff,                                )   Civil Action No. 2:18-cv-11273-MCA-JAD
                                                    )
   v.                                               )   PLAINTIFF OCCIDENTAL
                                                    )   CHEMICAL CORPORATION’S
   21ST CENTURY FOX AMERICA, INC., et al.           )   ANSWER, ADDITIONAL DEFENSES,
                                                    )   COUNTERCLAIM AND
          Defendants.                               )   CROSSCLAIM AGAINST ALL
                                                    )   DEFENDANTS




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         Plaintiff, Occidental Chemical Corporation (“OxyChem”), hereby files the following

  Answer, Additional Defenses, Counterclaim and Crossclaim to Defendant Royce Associates’

  (“Defendant”) Counterclaim.

         As a preliminary matter, OxyChem states that Defendant’s Counterclaim includes a

  significant definitional error. It alleges repeatedly that “OxyChem is Diamond Alkali Company”

  or that it is the successor-in-interest to “all the liabilities of” the Diamond Alkali Company or

  various other companies enumerated by Defendant throughout its counterclaim. This is not

  accurate. Accordingly, Plaintiff OxyChem denies this allegation wherever it is made, including

  where it is embodied (erroneously) in the purported definitional term “OxyChem.”

         For the avoidance of doubt, as used in this Answer, Additional Defenses, and

  Counterclaims, Plaintiff uses the term “OxyChem” to refer solely to Occidental Chemical

  Corporation.

                                     NATURE OF ACTION1

         1.      OxyChem denies that OxyChem has not paid its alleged share of response costs. In

  fact, as alleged in OxyChem’s own Complaint, OxyChem has paid more than its alleged share of

  response costs at the Diamond Alkali Superfund Site. OxyChem admits that the Diamond Alkali

  Superfund Site (the “Site”) is defined by the United States Environmental Protection Agency

  (“EPA”) as the former Diamond Alkali facility at 80-120 Lister Avenue in Newark, New Jersey,

  the Lower Passaic River Study Area (“LPRSA”), the Newark Bay Study Area and the areal extent

  of contamination. OxyChem admits that EPA’s definition of the Site is described at pp. 1-2 Record



  1
   For ease of reference, OxyChem’s Answer replicates the headings contained in the Counterclaim.
  Although OxyChem believes no response is required to such headings, to the extent a response is
  deemed required and to the extent those headings and titles could be construed to contain factual
  allegations, those allegations are denied.

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  of Decision, Lower 8.3 Miles of the Lower Passaic River Part of the Diamond Alkali Superfund

  Site (Mar. 3, 2016) (“OU2 ROD”). OxyChem otherwise denies the allegations in Paragraph 1.

         2.      OxyChem admits Defendant has alleged its entitlement to recover response costs

  under CERCLA in its Counterclaim, but OxyChem denies Defendant is entitled to any such

  recovery. To the extent Paragraph 2 alleges that Defendant has incurred or will incur response

  costs at the Site, OxyChem lacks knowledge of or information sufficient to form a belief about the

  truth of these allegations, so such allegations are denied under Fed. R. Civ. P. 8(b)(5). To the

  extent any additional response is required, OxyChem denies the allegations in Paragraph 2.

                                   JURISDICTION AND VENUE

         3.      OxyChem admits the allegations in Paragraph 3.

         4.      OxyChem admits the allegations in Paragraph 4.

         5.      OxyChem admits the allegations in Paragraph 5.

                                               PARTIES

         6.      OxyChem lacks knowledge of or information sufficient to form a belief about the

  truth of the allegations in Paragraph 6, so such allegations are denied under Fed. R. Civ. P. 8(b)(5).

  To the extent any additional response is required, OxyChem denies the allegations in Paragraph 6.

         7.      OxyChem denies the allegations set forth in Paragraph 7.

         8.      OxyChem denies it is the Diamond Alkali Company or that it is the corporate

  successor to “all the liabilities of Diamond Alkali Company” as alleged in this paragraph.

  OxyChem admits that the Diamond Shamrock Chemicals Company2 (“DSCC”) owned and/or

  operated the Lister Plant at the time 2,3,7,8-tetrachlorodibenzo-p-dioxin (“2,3,7,8-TCDD”) and



  2
   Throughout this Answer, OxyChem will use “DSCC” to refer to Diamond Shamrock Chemicals
  Company and its corporate predecessors, including Diamond Shamrock Corporation and Diamond
  Alkali Company.
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  the other “contaminants of concern” (“COCs”), as defined in OU2 ROD § 5.2, were allegedly

  disposed and released into the Passaic River and other parts of the Diamond Alkali Superfund Site.

  OxyChem further denies it is the Successor-in-interest to Kolker Realty Company, Kolker

  Chemical Works, Inc., Diamond Alkali Organic Chemical Division, Diamond Alkali Company,

  Diamond Chemicals Company, Diamond Shamrock Chemicals Company, Occidental Diamond

  Alkali Corporation, and Occidental Agricultural Products, Inc. OxyChem admits it is a successor

  by merger, but denies it is the Successor-in-interest to all the liabilities of, Occidental

  Electrochemicals Corporation, Oxy-Diamond Alkali Corporation, and Occidental Chemical

  Agricultural Products, Inc. OxyChem acknowledges that Defendant asserts that when it uses the

  term “OxyChem,” it is purporting to include within that term other entities that Defendant alleges

  are OxyChem’s predecessors-in-interest, but OxyChem denies it is the Successor-in-interest to

  those entities and otherwise denies the allegations set forth in Paragraph 8.

                                    GENERAL ALLEGATIONS

         9.      OxyChem denies the allegations set forth in Paragraph 9.

         10.     Paragraph 10 sets forth conclusions of law and therefore no answer is required. To

  the extent any additional response is required, OxyChem denies the allegations in Paragraph 10.

         11.     To the extent Paragraph 11 alleges that Defendant has incurred or will incur

  response costs at the Site and/or other damages, OxyChem lacks knowledge of or information

  sufficient to form a belief about the truth of these allegations, so such allegations are denied under

  Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 11.

                      Ownership and Operational History of the Lister Plant

         12.     OxyChem admits that from the mid-1940s through 1951, Kolker Chemical Works,

  Inc. owned and operated the plant located at 80 Lister Avenue (the “Lister Plant”), on the south



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  bank of the Passaic River at approximately River Mile 3.2; and from 1951 through approximately

  1969, DSCC owned and operated the Lister Plant. OxyChem further admits that at certain times

  DSCC manufactured DDT and phenoxy herbicides, including Agent Orange, at the Lister Plant.

  OxyChem otherwise denies the allegations in Paragraph 12.

         13.      OxyChem admits that two of the chemicals DSCC manufactured at the Lister Plant

  were 2,4-dichlorophenoxyacetic acid (“2-4D”) and 2,4,5-trichlorophenoxyacetic acid (“2,4,5-T”).

  OxyChem otherwise denies the allegations in Paragraph 13.

         14.      OxyChem admits that DDT, 2,4D, 2,4,5-T, and 2,3,7,8 TCDD are Hazardous

  Substances3 under 42 U.S.C. §9601(14). OxyChem further admits that DDT, 2,4D, and 2,4,5-T

  were used and/or produced at the Lister Plant. Defendant has not specified what other Hazardous

  Substances are at issue in Defendant’s allegation that “many other constituents were used,

  produced, disposed, and released at and from the Lister Plant and adjacent disposal areas” that are

  also “Hazardous Substances under 42. U.S.C. §9601(14),” so such allegations are denied under

  Fed. R. Civ. P. 8(b)(5). Paragraph 14 also sets forth conclusions of law, to which no response is

  required. OxyChem otherwise denies the allegations in Paragraph 14.

         15.      OxyChem admits that DSCC stopped operating the Lister Plant in 1969 and sold

  the plant to Chemicaland Corporation in 1971. OxyChem otherwise denies the allegations in

  Paragraph 15.

         16.      OxyChem admits that from late 1976 through early 1977, the Lister Plant

  manufactured the herbicide 2,4-D. OxyChem otherwise denies the allegations in Paragraph 16.

         17.      OxyChem denies the allegations in Paragraph 17.



  3
   Defendant does not define “Hazardous Substances” in its Counterclaim. When referencing
  “Hazardous Chemicals” in this Answer, OxyChem is referring to the definition found at CERCLA
  Section 101(14), 42 U.S.C.A. § 9601(14).
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                     The Aetna Litigation and the Court’s Findings of Intentional
                           and Continuous Releases from the Lister Plant

         18.     OxyChem admits that in September 1984, DSCC filed suit against Aetna Casualty

  & Surety Company and 125 other insurers in New Jersey Superior Court. OxyChem otherwise

  denies the allegations in Paragraph 18.

         19.     Paragraph 19 references pleadings in the Aetna litigation, documents that speak for

  themselves. OxyChem otherwise denies the allegations in Paragraph 19.

         20.     Paragraph 20 references pleadings in the Aetna litigation, documents that speak for

  themselves. OxyChem otherwise denies the allegations in Paragraph 20.

         21.     OxyChem admits Paragraph 21.

         22.     OxyChem admits that the bench trial in the Aetna litigation lasted twenty days, after

  which Judge Stanton issued findings of fact and conclusions of law. OxyChem otherwise denies

  the allegations in Paragraph 22.

         23.     Paragraph 23 references Judge Stanton’s findings of fact and conclusions of law in

  the Aetna litigation, a document that speaks for itself. OxyChem otherwise denies the allegations

  in Paragraph 23.

         24.     Paragraph 24 references Judge Stanton’s findings of fact and conclusions of law in

  the Aetna litigation, a document that speaks for itself. OxyChem admits the quoted language about

  DSCC appears in the trial court’s opinion but denies that it is a summary of the trial court’s

  conclusions. OxyChem otherwise denies the allegations in Paragraph 24.

         25.     Paragraph 25 references Judge Stanton’s findings of fact and conclusions of law in

  the Aetna litigation, a document that speaks for itself. OxyChem admits the quoted language

  appears in the trial court’s opinion, albeit without surrounding context from the opinion.

  OxyChem otherwise denies the allegations in Paragraph 25.

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         26.     Paragraph 26 references Judge Stanton’s findings of fact and conclusions of law in

  the Aetna litigation, a document that speaks for itself. OxyChem otherwise denies the allegations

  in Paragraph 26.

         27.     Paragraph 27 references Judge Stanton’s findings of fact and conclusions of law in

  the Aetna litigation, a document that speaks for itself. OxyChem admits that the language quoted

  appears in the trial court’s opinion, albeit without surrounding context from the opinion.

  OxyChem otherwise denies the allegations in Paragraph 27.

         28.     Paragraph 28 references Judge Stanton’s findings of fact and conclusions of law in

  the Aetna litigation, a document that speaks for itself. OxyChem otherwise denies the allegations

  in Paragraph 28.

         29.     Paragraph 29 references the hearsay testimony of Walter Blair in the Aetna

  litigation, the record of which speaks for itself. OxyChem was not a party to the trial of DSCC’s

  insurance claims against its insurers and did not participate in the trial or discovery leading up to

  the trial. Accordingly, OxyChem lacks knowledge or information sufficient to form a conclusion

  about the veracity, completeness, or reliability of this purported testimony and, as a result, the truth

  of Defendant’s allegations about this testimony, so such allegations are denied under Fed. R. Civ.

  P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 29.

         30.     Paragraph 30 references the hearsay testimony of Nicholas Centanni in the Aetna

  litigation, the record of which speaks for itself. OxyChem was not a party to the trial of DSCC’s

  insurance claims against its insurers and did not participate in the trial or discovery leading up to

  the trial. Accordingly, OxyChem lacks knowledge or information sufficient to form a conclusion

  about the veracity, completeness, or reliability of this purported testimony and, as a result, the truth




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  of Defendant’s allegations about this testimony, so such allegations are denied under Fed. R. Civ.

  P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 30.

         31.     Paragraph 31 references the hearsay testimony of Aldo Andreini in the Aetna

  litigation, the record of which speaks for itself. OxyChem was not a party to the trial of DSCC’s

  insurance claims against its insurers and did not participate in the trial or discovery leading up to

  the trial. Accordingly, OxyChem lacks knowledge or information sufficient to form a conclusion

  about the veracity, completeness, or reliability of this purported testimony and, as a result, the truth

  of Defendant’s allegations about this testimony, so such allegations are denied under Fed. R. Civ.

  P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 31.

         32.     Paragraph 32 references the hearsay testimony of Arthur Scureman in the Aetna

  litigation, the record of which speaks for itself. OxyChem was not a party to the trial of DSCC’s

  insurance claims against its insurers and did not participate in the trial or discovery leading up to

  the trial. Accordingly, OxyChem lacks knowledge or information sufficient to form a conclusion

  about the veracity, completeness, or reliability of this purported testimony and, as a result, the truth

  of Defendant’s allegations about this testimony, so such allegations are denied under Fed. R. Civ.

  P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 32.

         33.     Paragraph 33 again references the hearsay testimony of Arthur Scureman in the

  Aetna litigation, the record of which speaks for itself. As stated previously, OxyChem was not a

  party to the trial of DSCC’s insurance claims against its insurers and did not participate in the trial

  or discovery leading up to the trial. Accordingly, OxyChem lacks knowledge or information

  sufficient to form a conclusion about the veracity, completeness, or reliability of this purported

  testimony and, as a result, the truth of Defendant’s allegations about this testimony, so such




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  allegations are denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations

  in Paragraph 33.

         34.     Paragraph 34 also references the hearsay testimony of Arthur Scureman in the

  Aetna litigation, the record of which speaks for itself. OxyChem was not a party to the trial of

  DSCC’s insurance claims against its insurers and did not participate in the trial or discovery

  leading up to the trial. Accordingly, OxyChem lacks knowledge or information sufficient to form

  a conclusion about the veracity, completeness, or reliability of this purported testimony and, as a

  result, the truth of Defendant’s allegations about this testimony, so such allegations are denied

  under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 34.

         35.     Paragraph 35 references the hearsay testimony of John Burton in the Aetna

  litigation, the record of which speaks for itself. OxyChem was not a party to the trial of DSCC’s

  insurance claims against its insurers and did not participate in the trial or discovery leading up to

  the trial. Accordingly, OxyChem lacks knowledge or information sufficient to form a conclusion

  about the veracity, completeness, or reliability of this purported testimony and, as a result, the truth

  of Defendant’s allegations about this testimony, so such allegations are denied under Fed. R. Civ.

  P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 35.

         36.     Paragraph 36 also references the hearsay testimony of John Burton in the Aetna

  litigation, the record of which speaks for itself. OxyChem was not a party to the trial of DSCC’s

  insurance claims against its insurers and did not participate in the trial or discovery leading up to

  the trial. Accordingly, OxyChem lacks knowledge or information sufficient to form a conclusion

  about the veracity, completeness, or reliability of this purported testimony and, as a result, the truth

  of Defendant’s allegations about this testimony, so such allegations are denied under Fed. R. Civ.

  P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 36.



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          37.     Paragraph 37 references the hearsay testimony of Dr. L. Anthony Wolfskill in the

   Aetna litigation, the record of which speaks for itself. OxyChem was not a party to the trial of

   DSCC’s insurance claims against its insurers and did not participate in the trial or discovery

   leading up to the trial. Accordingly, OxyChem lacks knowledge or information sufficient to form

   a conclusion about the veracity, completeness, or reliability of this purported testimony and, as a

   result, the truth of Defendant’s allegations about this testimony, so such allegations are denied

   under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 37.

          38.     Paragraph 38 references the hearsay testimony of Michael Catania in the Aetna

   litigation, the record of which speaks for itself. OxyChem was not a party to the trial of DSCC’s

   insurance claims against its insurers and did not participate in the trial or discovery leading up to

   the trial. Accordingly, OxyChem lacks knowledge or information sufficient to form a conclusion

   about the veracity, completeness, or reliability of this purported testimony and, as a result, the truth

   of Defendant’s allegations about this testimony, so such allegations are denied under Fed. R. Civ.

   P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 38.

          39.     Paragraph 39 references DSCC’s briefing in the Aetna litigation appeal, a document

   which speaks for itself. OxyChem admits that DSCC appealed the Aetna trial court’s decision.

   OxyChem also admits the quoted language appears in DSCC’s appellate brief. OxyChem,

   however, was not a party to the appeal and did not participate in the briefing of the appeal.

   Accordingly, OxyChem lacks knowledge or information sufficient to form a conclusion about the

   veracity, completeness, or reliability of the statement contained in DSCC’s appellate brief, so such

   allegations are denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations

   in Paragraph 39.




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          40.     Paragraph 40 references DSCC’s briefing in the Aetna litigation appeal, a document

   which speaks for itself. OxyChem, as noted, was not a party to the appeal did not participate in

   the briefing of the appeal. Accordingly, OxyChem lacks knowledge or information sufficient to

   form a conclusion about the veracity, completeness, or reliability of the statements about DSCC’s

   positions in its appeal, so such allegations are denied under Fed. R. Civ. P. 8(b)(5). OxyChem

   otherwise denies the allegations in Paragraph 40.

          41.     Paragraph 41 references the New Jersey Appellate Division’s decision in the Aetna

   litigation appeal, a document which speaks for itself. OxyChem admits the quoted language

   appears in the Appellate Division’s decision, albeit without relevant surrounding context.

   OxyChem otherwise denies the allegations in Paragraph 41.

          42.     Paragraph 42 references the New Jersey Appellate Division’s decision in the Aetna

   litigation appeal, a document which speaks for itself. OxyChem was not a party to the trial or

   appeal of DSCC’s insurance claims against its insurers and did not participate in the trial, the

   discovery leading up to the trial, or the appeal. Accordingly, OxyChem lacks knowledge or

   information sufficient to form a conclusion about the veracity, completeness, or reliability of

   Defendant’s purported summary of “additional facts” it contends the Appellate Division included

   in its opinion and, as a result, the truth of Defendant’s allegations in this paragraph, so such

   allegations are denied under Fed. R. Civ. P. 8(b)(5).   OxyChem otherwise denies the allegations

   in Paragraph 42.

                         Additional Evidence of Releases from Lister Plant

          43.     Paragraph 43 references a 1955 memorandum sent from DSCC management to

   John Burton, a document which speaks for itself. OxyChem admits the quoted language appears

   in the referenced memorandum, albeit without relevant surrounding context. John Burton was



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   never employed by OxyChem and OxyChem did not own the stock of DSCC at the time of this

   alleged interaction between Mr. Burton and Mr. Taylor. OxyChem is without knowledge or

   information sufficient to form a conclusion about the truth of Defendant’s allegations in this

   paragraph, so such allegations are denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies

   the allegations in Paragraph 43.

          44.     Paragraph 44 references a July 3, 1956 Passaic Valley Sewerage Commission

   memorandum, and a July 6, 1956 letter from John Burton, documents which speak for themselves.

   OxyChem admits the quoted language appears in the referenced July 6, 1956 letter from Mr.

   Burton, albeit without relevant surrounding context. OxyChem did not own the stock of DSCC at

   the time of this alleged interaction between Mr. Burton and the PVSC. OxyChem is without

   knowledge or information sufficient to form a conclusion about the truth of Defendant’s

   allegations in this paragraph, so such allegations are denied under Fed. R. Civ. P.

   8(b)(5). OxyChem otherwise denies the allegations in Paragraph 44.

          45.     Paragraph 45 references a memorandum dated on or around July 10, 1956 from

   John Burton to DSCC corporate representatives, a document which speaks for itself. OxyChem

   admits the quoted language appears in the referenced memorandum, albeit without relevant

   surrounding context. John Burton was never employed by OxyChem and OxyChem did not own

   the stock of DSCC at the time of this alleged interaction between Mr. Burton and unnamed

   corporate representatives of DSCC. OxyChem is without knowledge or information sufficient to

   form a conclusion about the truth of Defendant’s allegations in this paragraph, so such allegations

   are denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph

   45.




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          46.     Paragraph 46 references a memorandum dated on or around July 10, 1956 from

   John Burton to DSCC corporate representatives, a document which speaks for itself. OxyChem

   admits the quoted language appears in the referenced memorandum, albeit without relevant

   surrounding context. John Burton was never employed by OxyChem and OxyChem did not own

   the stock of DSCC at the time of this alleged interaction between Mr. Burton and unnamed

   corporate representatives of DSCC. OxyChem is without knowledge or information sufficient to

   form a conclusion about the truth of Defendant’s allegations in this paragraph, so such allegations

   are denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph

   46.

          47.     Paragraph 47 references a letter dated on or around July 22, 1956 from John Burton

   to plant inspectors, and a July 26, 1956 letter from Mr. Burton to Dr. Bruce Gleissner, documents

   which speak for themselves. OxyChem admits the quoted language appears in the referenced

   documents, albeit without relevant surrounding context. John Burton was never employed by

   OxyChem and OxyChem did not own the stock of DSCC at the time of this alleged interaction

   between Mr. Burton and unnamed plant inspectors.            OxyChem is without knowledge or

   information sufficient to form a conclusion about the truth of Defendant’s allegations in this

   paragraph, so such allegations are denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise

   denies the allegations in Paragraph 47.

          48.     Paragraph 48 references a memorandum dated July 31, 1956 from Bill Taylor to

   John Burton, a document which speaks for itself. OxyChem admits the quoted language appears

   in the referenced memorandum, albeit without relevant surrounding context. Neither Bill Taylor

   nor John Burton were ever employed by OxyChem and OxyChem did not own the stock of DSCC

   at the time of this alleged communication between Mr. Taylor and Mr. Burton. OxyChem is



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   without knowledge or information sufficient to form a conclusion about the truth of Defendant’s

   allegations in this paragraph, so such allegations are denied under Fed. R. Civ. P. 8(b)(5).

   OxyChem otherwise denies the allegations in Paragraph 48.

          49.     Paragraph 49 references an April 4, 1960 memorandum from John Burton to DSCC

   representatives, a document which speaks for itself. OxyChem admits the quoted language appears

   in the referenced memorandum, albeit without relevant surrounding context. Mr. Burton was

   never employed by OxyChem and OxyChem did not own the stock of DSCC at the time of this

   alleged memoranda from Mr. Burton to unnamed DSCC representatives. OxyChem is without

   knowledge or information sufficient to form a conclusion about the truth of Defendant’s

   allegations in this paragraph, so such allegations are denied under Fed. R. Civ. P. 8(b)(5).

   OxyChem otherwise denies the allegations in Paragraph 49.

          50.     Paragraph 50 references a survey dated March 24, 1967, signed by F. Gordon

   Steward, a document which speaks for itself. OxyChem admits the quoted language appears in

   the referenced survey, albeit without relevant surrounding context. F. Gordon Steward was never

   employed by OxyChem and OxyChem did not own the stock of DSCC at the time of this alleged

   survey by Mr. Steward. OxyChem is without knowledge or information sufficient to form a

   conclusion about the truth of Defendant’s allegations in this paragraph, so such allegations are

   denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 50.

          51.     Paragraph 51 references a notice of violation dated August 3, 1956 to DSCC for

   illegal discharges to the Passaic River from the Lister Plant, and DSCC’s response to that notice,

   documents which speak for themselves. OxyChem did not own the stock of DSCC at the time of

   this alleged notice of violation nor DSCC’s alleged response. OxyChem is without knowledge or

   information sufficient to form a conclusion about the truth of Defendant’s allegations in this



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   paragraph, so such allegations are denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise

   denies the allegations in Paragraph 51.

          52.     Paragraph 52 references a communication dated October 13, 1964 from the U.S.

   Army Corps of Engineers to DSCC, a document which speaks for itself. OxyChem admits the

   quoted language appears in the referenced communication, albeit without relevant surrounding

   context. OxyChem did not own the stock of DSCC at the time of this alleged communication

   between the U.S. Army Corps of Engineers and DSCC. OxyChem is without knowledge or

   information sufficient to form a conclusion about the truth of Defendant’s allegations in this

   paragraph, so such allegations are denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise

   denies the allegations in Paragraph 52.

          53.     Paragraph 53 references a communication dated September 18, 1968 from the U.S.

   Army Corps of Engineers to DSCC, a document which speaks for itself. OxyChem did not own

   the stock of DSCC at the time of this alleged communication between the U.S. Army Corps of

   Engineers and DSCC. OxyChem is without knowledge or information sufficient to form a

   conclusion about the truth of Defendant’s allegations in this paragraph, so such allegations are

   denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 53.

          54.     Paragraph 54 references a report dated October 18, 1969 from a Mr. Gregoric to

   Bill Taylor, a document which speaks for itself. Neither Mr. Gregoric nor Bill Taylor were ever

   employed by OxyChem and OxyChem did not own the stock of DSCC at the time of this alleged

   communication between Mr. Gregoric and Mr. Taylor. OxyChem is without knowledge or

   information sufficient to form a conclusion about the truth of Defendant’s allegations in this

   paragraph, so such allegations are denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise

   denies the allegations in Paragraph 54.



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          55.     Paragraph 55 references a memorandum dated November 12, 1968 from Bill

   Taylor, a document which speaks for itself. OxyChem admits the quoted language appears in the

   referenced memorandum, albeit without relevant surrounding context. Bill Taylor was never

   employed by OxyChem and OxyChem did not own the stock of DSCC at the time of this alleged

   memorandum from Mr. Taylor. OxyChem is without knowledge or information sufficient to form

   a conclusion about the truth of Defendant’s allegations in this paragraph, so such allegations are

   denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 55.

          56.     Paragraph 56 references a memorandum dated September 1968 from Bill Taylor, a

   document which speaks for itself. OxyChem admits the quoted language appears in the referenced

   memorandum, albeit without relevant surrounding context. Bill Taylor was never employed by

   OxyChem and OxyChem did not own the stock of DSCC at the time of this alleged memorandum

   from Mr. Taylor. OxyChem is without knowledge or information sufficient to form a conclusion

   about the truth of Defendant’s allegations in this paragraph, so such allegations are denied under

   Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 56.

          57.     Paragraph 57 references a 1968 communication from Bill Taylor, a document

   which speaks for itself.    OxyChem admits the quoted language appears in the referenced

   memorandum, albeit without relevant surrounding context. Bill Taylor was never employed by

   OxyChem and OxyChem did not own the stock of DSCC at the time of this alleged communication

   from Mr. Taylor. OxyChem is without knowledge or information sufficient to form a conclusion

   about the truth of Defendant’s allegations in this paragraph, so such allegations are denied under

   Fed. R. Civ. P. 8(b)(5). OxyChem admits that DSCC closed the Lister Plant in 1969. OxyChem

   otherwise denies the allegations in Paragraph 57.

     Response Activities Resulting from Disposal and Releases of 2,3,7,8 – TCDD and Other
            Hazardous Substances at the Lister Plant and Adjacent Disposal Areas

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          58.      OxyChem denies the allegations in Paragraph 58.

          59.      OxyChem denies the allegations in Paragraph 59.

          60.      Paragraph 60 references New Jersey Governor Thomas H. Kean’s Executive Order

   No. 40, a document which speaks for itself. OxyChem otherwise denies the allegations in

   Paragraph 60.

          61.      Paragraph 61 references an administrative order dated June 13, 1983 from NJDEP,

   a document which speaks for itself. OxyChem admits that NJDEP’s administrative order imposed

   certain stabilization measures on DSCC, but OxyChem denies Defendant has summarized them

   accurately in this paragraph. OxyChem otherwise denies the allegations in Paragraph 61.

          62.      Paragraph 62 references an Administrative Consent Order executed by DSCC and

   NJDEP in March 1984, a document which speaks for itself. OxyChem admits that NJDEP’s

   Administrative Consent Order imposed certain remediation obligations on DSCC, but OxyChem

   denies Defendant has summarized them accurately in this paragraph. OxyChem otherwise denies

   the allegations in Paragraph 62.

          63.      OxyChem admits that the EPA listed the Diamond Alkali Superfund Site on the

   National Priorities List (“NPL”) in 1984. OxyChem denies Defendant has summarized that NPL

   listing accurately in this paragraph. OxyChem otherwise denies the allegations in Paragraph 63.

          64.      OxyChem denies the allegations in Paragraph 64.

          65.      OxyChem admits that the LPRSA, as defined by the EPA, covers the 17-mile

   stretch of the Lower Passaic River and its tributaries from the Dundee Dam to Newark Bay.

   OxyChem otherwise denies the allegations in Paragraph 65.

          66.      OxyChem admits the allegations in Paragraph 66.




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          67.      OxyChem admits that during EPA’s decades of conducting investigative and other

   response actions on the Passaic River, OxyChem has cooperated with NJDEP and EPA and that

   OxyChem has (along with its indemnitors Maxus and Tierra) shouldered more than its share of the

   burden to clean up the river. OxyChem otherwise denies the allegations in Paragraph 67.

                                The 80 and 120 Lister Avenue Area

          68.      Paragraph 68 references an Administrative Consent Order executed by DSCC and

   NJDEP in March 1984, and an Administrative Consent Order executed by DSCC and NJDEP in

   December 1984, documents which speak for themselves. OxyChem, however, was not a party to

   these Orders and otherwise denies the allegations in Paragraph 68.

          69.      Paragraph 69 references a 1987 EPA Record of Decision concerning 80 and 120

   Lister Avenue, a document which speaks for itself. OxyChem otherwise denies the allegations in

   Paragraph 69.

          70.      Paragraph 70 references a 1990 Consent Decree entered by the Federal District

   Court for the District of New Jersey relating to the 1987 EPA Record of Decision concerning 80

   and 120 Lister Avenue, a document that speaks for itself. OxyChem admits it was one of the

   parties to the Consent Decree. OxyChem further admits that Tierra’s (as OxyChem’s indemnitor

   and as the then-owner of the Lister Avenue Plant Site) construction of the interim remedy began

   in April 2000 and was completed in December 2001. OxyChem otherwise denies the allegations

   in Paragraph 70.

          71.      Paragraph 71 references a 2008 EPA Administrative Settlement Agreement and

   Order on Consent, a document which speaks for itself. OxyChem admits it was a party to the 2008

   Administrative Settlement Agreement and Order on Consent and further admits that in 2012,

   Tierra (as OxyChem’s indemnitor and as the then-owner of the Lister Avenue Plant Site)



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   performed the Phase 1 removal and completed the dredging, dewatering, and transport of 40,000

   cubic yards of contaminated sediment. OxyChem further admits that it has not implemented Phase

   II of the removal action, for which conditions precedent have not yet occurred, and which EPA is

   considering including in the OU2 remedial action in accordance with the Record of Decision.

   OxyChem otherwise denies the allegations in Paragraph 71.

                                The Lower Passaic River Study Area

          72.     Paragraph 72 references a 1994 Administrative Order on Consent and a Remedial

   Investigation and Feasibility Study regarding a six-mile stretch of the Lower Passaic River (RM 1

   to RM 7), documents that speak for themselves. OxyChem admits it was a party to the 1994

   Administrative Order on Consent and that the Remedial Investigation and Feasibility Study was

   performed by Tierra (as OxyChem’s indemnitor). OxyChem further admits that in 2002, EPA

   expanded the scope of the investigation to include the entire 17-mile Lower Passaic River.

   OxyChem otherwise denies the allegations in Paragraph 72.

          73.     OxyChem admits the allegations in Paragraph 73.

          74.     Paragraph 74 references a 2004 settlement agreement with EPA (“2004 RI/FS

   Agreement”), a document which speaks for itself. OxyChem admits it was a party to the 2004

   RI/FS Agreement, but OxyChem otherwise denies the allegations in Paragraph 74.

          75.     Paragraph 75 references a May 2007 Administrative Settlement Agreement and

   Order on Consent (“2007 RI/FS ASAOC”), a document which speaks for itself. OxyChem admits

   it was a party, together with many other parties, to the 2007 RI/FS ASAOC. OxyChem otherwise

   denies the allegations in Paragraph 75.

          76.     Paragraph 76 refers to a 2007 Amended and Restated Organization Agreement, a

   document which speaks for itself. OxyChem admits it was a party to this Agreement when it was



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   executed and further admits this Agreement contains a Standstill Agreement. OxyChem otherwise

   denies the allegations in Paragraph 76.

          77.     OxyChem admits it withdrew from the CPG in May 2012, but denies its withdrawal

   was voluntary as the other members of the CPG had, at that point, committed multiple prior and

   material breaches of the CPG Agreement. OxyChem otherwise denies the allegations in Paragraph

   77.

          78.     OxyChem denies any such payments are owed, based on the CPG members’ prior

   material breach of the agreement, and otherwise denies the allegations in Paragraph 78.

          79.     Paragraph 79 references a September 2016 Administrative Settlement Agreement

   and Order on Consent for Remedial Design for Operable Unit Two of the Diamond Alkali

   Superfund Site (CERCLA Docket No. 02-2016-2021) (“2016 ASAOC”), a document which

   speaks for itself. OxyChem admits it is a party to the 2016 ASAOC but denies the allegation that

   it has not yet incurred any costs pursuant to the 2016 ASAOC. OxyChem otherwise denies the

   allegations in Paragraph 79.

                                    The Newark Bay Study Area

          80.     OxyChem admits that in addition to the 80 and 120 Lister Avenue area and the

   LPRSA, EPA has found dioxin, and other Hazardous Substances—including what EPA has

   identified as Eight Chemicals of Concern (“COCs”) for the Diamond Alkali Superfund Site—in

   the Newark Bay Study Area. OxyChem denies those Hazardous Substances and Chemicals of

   Concern were released from the Lister Plant or any adjacent disposal areas associated with that

   plant into Newark Bay, including portions of the Hackensack River, the Arthur Kill and Kill Van

   Kull. OxyChem further admits that EPA has designated the Newark Bay Study Area as part of the

   Diamond Alkali Superfund Site. OxyChem otherwise denies the allegations in Paragraph 80.



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          81.     Paragraph 81 references a February 2004 Administrative Order on Consent to

   perform the RI/FS for the Newark Bay Study Area, a document which speaks for itself. OxyChem

   admits it is a party to the 2004 Administrative Order on Consent, but otherwise denies the

   allegations in Paragraph 81.

                                    The RM 10.9 Removal Action

          82.     Paragraph 82 references the River Mile 10.9 Removal Area. OxyChem admits that

   EPA found that an area in the Passaic River at and near to river mile 10.9 contained elevated

   concentrations of Hazardous Substances, including “dioxins, PCBs and other contaminants found

   at the surface of a mudflat on at the east bank of the river,” but OxyChem otherwise denies the

   allegations in Paragraph 82.

          83.     OxyChem denies the allegations in Paragraph 83.

          84.     Paragraph 84 alleges, but does not cite the source of, what Defendant contends

   “EPA determined” regarding concentrations of 2,3,7,8-TCDD and other Hazardous Substances at

   River Mile 10.9. OxyChem admits, however, that EPA did—as stated in its March 3, 2016 Record

   of Decision—order in 2012 a “time critical removal action to address the risks posed by high

   concentrations of dioxins, PCBs and other contaminants found at the surface of a mudflat on the

   east bank of the river at RM 10.9.” If Defendant is referring to statements made in a June 2012

   ASAOC between EPA and the CPG for a removal action to address high concentrations of dioxins,

   PCBs, and other contaminants at a mudflat on the Passaic River’s eastern bank at RM 10.9, that

   document also speaks for itself. OxyChem, however, was not a party to the 2012 ASAOC and

   therefore is without knowledge or information sufficient to permit it to form a conclusion as to the

   accuracy of Defendant’s statements about what EPA “determined,” so such allegations are denied

   under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 84.



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          85.     OxyChem admits the allegations in Paragraph 85.

          86.     OxyChem lacks knowledge of or information sufficient to form a belief about the

   truth of the allegations in Paragraph 86, so such allegations are denied under Fed. R. Civ. P.

   8(b)(5).

          87.     Paragraph 87 references the process Defendants intend to employ to comply with

   the June 2012 ASAOC between EPA and certain Defendants requiring the Removal Action at RM

   10.9. OxyChem is not a party to this agreement and it lacks knowledge of or information sufficient

   to form a belief about the truth of these allegations, so such allegations are denied under Fed. R.

   Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 87.

          88.     OxyChem denies the allegations in Paragraph 88.

          89.     Paragraph 89 references a June 25, 2012 Unilateral Administrative Order for

   Removal Response Activities from EPA, a document that speaks for itself. OxyChem admits it

   was a voluntary respondent to the June 25, 2012 UAO, and that the UAO contained the quoted

   language, but OxyChem otherwise denies the allegations in Paragraph 89.

          90.     To the extent Paragraph 90 alleges that Defendant has incurred or will incur

   response costs in connection with the RM 10.9 consent order, OxyChem lacks knowledge of or

   information sufficient to form a belief about the truth of these allegations, so such allegations are

   denied under Fed. R. Civ. P. 8(b)(5). OxyChem otherwise denies the allegations in Paragraph 90.

                                             COUNT I
                             (Contribution Under CERCLA Section 113)

          91.     OxyChem re-alleges and incorporates by reference its responses to Paragraphs 1

   through 90 of the Counterclaim as if fully set forth herein.

          92.     OxyChem admits that, as alleged in Paragraph 92, Defendant is a “person” as

   defined in CERCLA Section 101(21).

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          93.     OxyChem admits that OxyChem is also a “person” as defined in CERCLA Section

   101(21).

          94.     OxyChem admits the allegations in Paragraph 94.

          95.     OxyChem admits 2,3,7,8-TCDD, 2,4-D, 2,4,5-T, and DDT are Hazardous

   Substances under 42 U.S.C. §9601(14), but it denies that each of these—or any other--hazardous

   substances were released from the Lister Plant into the LPRSA.

          96.     OxyChem admits there have been multiple releases and disposals of Hazardous

   Substances into the LPRSA by multiple parties, including all of the Defendants, but OxyChem

   denies that any Hazardous Substances from the Lister Plant or adjacent disposal areas migrated

   into the RM 10.9 Removal Area. To the extent any additional response is required, OxyChem

   denies the allegations in Paragraph 96.

          97.     OxyChem denies it was the “owner or operator” of the Lister Plant, as that term is

   used in 42 U.S.C. § 9601(20), at or during the time of the acts or omissions which Defendant

   alleges resulted in the release of Hazardous Substances on, at, under or from the Lister Plant and

   adjacent disposal areas. To the extent any additional response is required, OxyChem denies the

   allegations in Paragraph 97.

          98.     OxyChem denies the allegations in Paragraph 98.

          99.     OxyChem denies the allegations in Paragraph 99.

          100.    To the extent Paragraph 100 alleges that Defendant has incurred or will incur costs

   under the listed orders, OxyChem lacks knowledge of or information sufficient to form a belief

   about the truth of these allegations, so such allegations are denied under Fed. R. Civ. P. 8(b)(5).

   OxyChem otherwise denies the allegations in Paragraph 100.




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          101.    To the extent Paragraph 101 alleges that Defendant has incurred or will incur

   response costs, OxyChem lacks knowledge of or information sufficient to form a belief about the

   truth of these allegations, so such allegations are denied under Fed. R. Civ. P. 8(b)(5). OxyChem

   otherwise denies the allegations in Paragraph 101.

          102.    OxyChem denies the allegations in Paragraph 102.

          103.    To the extent Paragraph 103 alleges that Defendant has incurred or will incur

   response costs, or that it will pay more than its fair share of response costs for contamination

   Defendant itself caused, OxyChem lacks knowledge of or information sufficient to form a belief

   about the truth of these allegations, so such allegations are denied under Fed. R. Civ. P. 8(b)(5).

   Paragraph 103 also sets forth Defendant’s demand for contribution, but OxyChem denies

   Defendant is entitled to recover contribution from OxyChem.

          To the extent any further response is required to Count I, OxyChem submits that

   Defendant’s Prayer for Relief in Count I of its Counterclaim should be denied and OxyChem

   demands strict proof of Defendant’s allegations.

                                             COUNT II
                                 (Declaratory Judgment – CERCLA)

          104.    OxyChem re-alleges and incorporates by reference its responses to Paragraphs 1

   through 104 of the Counterclaim as if fully set forth herein.

          105.    OxyChem admits the allegations in Paragraph 105.

          106.    OxyChem admits the allegations in Paragraph 106.

          107.    OxyChem admits 2,3,7,8-TCDD, 2,4-D, 2,4,5-T, and DDT are Hazardous

   Substances under 42 U.S.C. §9601(14), but it denies that each of these—or any other—Hazardous

   Substances were released from the Lister Plant and adjacent disposal areas into the LPRSA. To

   the extent any additional response is required, OxyChem denies the allegations in Paragraph 107.

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          108.    OxyChem admits 2,3,7,8-TCDD, 2,4-D, 2,4,5-T, and DDT are Hazardous

   Substances under 42 U.S.C. §9601(14), but it denies that each of these—or any other—Hazardous

   Substances were released from the Lister Plant and adjacent disposal areas into the LPRSA.

   OxyChem otherwise denies the allegations in Paragraph 108.

          109.    OxyChem denies the allegations in Paragraph 109.

          110.    OxyChem denies it was the owner or operator of the Lister Plant, as that term is

   used in 42 U.S.C. §9601(20), at or during the time of the acts or omissions which Defendant alleges

   resulted in the release of Hazardous Substances on, at, under or from the Lister Plant and adjacent

   disposal areas. To the extent any additional response is required, OxyChem denies the allegations

   in Paragraph 110.

          111.    OxyChem denies the allegations in Paragraph 111.

          112.    OxyChem admits it is a “person” within the meaning of CERCLA, but it denies it

   is in any way a “person liable” to Defendant under CERCLA Section 107. To the extent any

   additional response is required, OxyChem denies the allegations in Paragraph 112.

          113.    To the extent Paragraph 113 alleges that Defendant has incurred or will incur

   response costs, OxyChem lacks knowledge of or information sufficient to form a belief about the

   truth of these allegations, so such allegations are denied under Fed. R. Civ. P. 8(b)(5). OxyChem

   otherwise denies the allegations in Paragraph 113.

          114.    OxyChem denies the allegations in Paragraph 114.

          To the extent any further response is necessary to Defendant’s prayer for relief for

   Declaratory Judgment, OxyChem agrees that the Court may and should enter a declaratory

   judgment allocating joint and several liability among all responsible parties for response costs

   incurred for the entire 17 mile stretch of the Lower Passaic River Study Area, but OxyChem:



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         •   Denies that Defendant is entitled to a declaratory judgment that OxyChem is liable for

             100% of all response costs incurred within the LPRSA (including the RM 10.9

             Removal Area) or in the Diamond Alkali Superfund Site;

         •   Denies that there are any equitable factors warranting a judgment allocating 100% of

             the liability under CERCLA Section 113 for all response costs within the LPRSA

             (including the RM 10.9 Removal Area) or in the Diamond Alkali Superfund Site

             against OxyChem;

         •   Denies that any judgment should issue holding OxyChem jointly and severally liable

             under Section 107 for all response costs that have been or may be incurred within the

             LPRSA (including the RM 10.9 Removal Area) or in the Diamond Alkali Superfund

             Site;

         •   Denies that there are any equitable factors warranting entry of a judgment allocating

             100% of the liability under Section 107 for all response costs within the LPRSA

             (including the RM 10.9 Removal Area) or in the Diamond Alkali Superfund Site

             against OxyChem;

         •   Denies that any declaratory judgment should issue assessing OxyChem 100% liability

             for any response costs that may be incurred in the future within the LPRSA (including

             RM 10.9), the Diamond Alkali Superfund Site, or for implementation of the RM 109

             Removal Action.

         •   Denies that any declaratory judgment should issue assessing OxyChem liability for

             additional current and future work obligations, prejudgment interest, reasonable costs,

             attorneys’ fees, or any other relief.


                                              COUNT III

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                           (Declaratory Judgment – Corporate Successor)

          115.    OxyChem re-alleges and incorporates by reference its responses to Paragraphs 1

   through 114 of the Counterclaim as if fully set forth herein.

          116.    OxyChem admits the allegations in Paragraph 116.

          117.    OxyChem admits that at times from the mid-1940s to March 1951, Kolker

   Chemical Works, Inc. produced DDT and phenoxy herbicides at the Lister Plant. OxyChem

   otherwise denies the allegations in Paragraph 117.

          118.    OxyChem admits the allegations in Paragraph 118.

          119.    OxyChem admits the allegations in Paragraph 119.

          120.    OxyChem admits that in 1951 Diamond Alkali Company acquired the stock of

   Kolker Chemical Works, Inc., and that Kolker Chemical Works was renamed following the 1951

   acquisition. The allegation “Diamond Alkali Company dissolved Kolker Chemical Works, Inc.

   (which had been renamed following the 1951 acquisition) and assumed all its assets and liabilities”

   appears to refer to the 1954 Plan of Liquidation of Diamond Alkali Organic Chemicals Division,

   a document which speaks for itself. OxyChem denies Defendant’s allegation is an accurate or

   complete summary of this document and OxyChem otherwise denies the allegations in Paragraph

   120.

          121.    OxyChem admits the allegations in Paragraph 121.

          122.    OxyChem admits that in July 1983 DSCC (then known as Diamond Shamrock

   Corporation) formed a wholly owned subsidiary named New Diamond Corporation.

          123.    OxyChem admits that DSCC (then known as Diamond Shamrock Corporation)

   then executed a reverse merger whereby New Diamond Corporation became the parent of DSCC.




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          124.    OxyChem admits that after the reverse merger, DSCC (then known as Diamond

   Shamrock Corporation) changed its name to Diamond Chemicals Company, and in October 1983

   changed its name to Diamond Shamrock Chemicals Company.

          125.    OxyChem admits the allegations in Paragraph 125.

          126.    OxyChem admits that in 1986 the new Diamond Shamrock Corporation sold the

   stock of Diamond Shamrock Chemicals Company to Oxy-Diamond Alkali Corporation, an

   indirect wholly owned subsidiary of Occidental Petroleum Corporation, but this allegation in

   Paragraph 126 is a materially incomplete statement of the transaction. Two years before this stock

   purchase, DSCC’s parent company, Diamond Shamrock Corporation, transferred to itself and

   assumed all liabilities for DSCC’s “Discontinued Operations,” including the discontinued

   operations at the closed Lister Avenue Plant. Accordingly, when Plaintiff OxyChem purchased

   the stock of DSCC, the liabilities associated with Discontinued Operations and the Lister Avenue

   Plant were no longer held by DSCC, but rather had been transferred to and assumed by Diamond

   Shamrock Corporation, which retained those liabilities after the stock purchase, leaving OxyChem

   holding only the active chemicals business of DSCC.

          127.    OxyChem admits the allegations in Paragraph 127.

          128.    OxyChem admits the allegations in Paragraph 128.

          129.    OxyChem denies the allegations in Paragraph 129.

          130.    Paragraph 130 references the New Jersey Superior Court’s 2011 summary

   judgment opinion in the matter of New Jersey Dep’t Envtl. Prot. v. Occidental Chem. Corp., Civil

   Action No. L-9868-05, a document which speaks for itself. OxyChem denies this allegation

   summarizes accurately the Court’s summary judgment and otherwise denies the allegations in

   Paragraph 130.



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          131.      OxyChem denies the allegations in Paragraph 131.

          132.      OxyChem denies the allegations in Paragraph 132.

          To the extent any further response is necessary to Defendant’s prayer for relief for

   Declaratory Judgment, OxyChem denies that Defendant is entitled to any declaratory judgment

   that OxyChem is the corporate successor to the entities that owned and operated the Lister Plant

   from the mid-1940s through 1969 and is responsible for those entities’ conduct and liabilities.

   OxyChem further denies that Defendant is entitled to any award of prejudgment interest,

   reasonable costs, attorneys fees or other relief on account of this claim. OxyChem demands strict

   proof of Defendant’s claim

                                     AFFIRMATIVE DEFENSES

          The following are defenses OxyChem may assert based on the facts alleged in the

   Counterclaim or based on facts adduced in discovery. In disclosing these defenses, OxyChem

   does not assume any burden of proof not otherwise required by law. Moreover, OxyChem

   undertakes the burden of proof only as to those defenses deemed “affirmative” defenses by law,

   regardless of how defenses are denominated herein. OxyChem reserves the right to assert further

   defenses that may become apparent during the course of discovery.

                                    FIRST SEPARATE DEFENSE

          The Counterclaim fails, in whole or in part, to state a claim upon which relief can be

   granted.

                                  SECOND SEPARATE DEFENSE

          The Counterclaim is barred, in whole or in part, by the applicable statutes of limitations

   and/or repose.

                                   THIRD SEPARATE DEFENSE



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           Defendant lacks standing to assert some or all the claims and the demands for relief in the

   Counterclaim.

                                  FOURTH SEPARATE DEFENSE

           Defendant’s claims are barred, in whole or in part, by the doctrine of estoppel, quasi-

   estoppel, and judicial estoppel.

                                      FIFTH SEPARATE DEFENSE

           Defendant’s claims are barred, in whole or in part, because none of the alleged acts or

   omissions of OxyChem proximately caused Defendant’s alleged damages.

                                      SIXTH SEPARATE DEFENSE

           The claims and/or damages alleged in the Counterclaim are barred, in whole or in part, by

   Defendant’s failure to mitigate Defendant’s “necessary response costs,” if any.

                                 SEVENTH SEPARATE DEFENSE

           Defendant cannot recover costs under CERCLA Section 107, 42 U.S.C. § 9607, because

   Defendant has not incurred any necessary response costs.

                                  EIGHTH SEPARATE DEFENSE

           Defendant has failed to join parties in whose absence complete relief cannot be accorded

   among existing parties as required by Fed. R. Civ. P. 19(a)(1).

                                      NINTH SEPARATE DEFENSE

           Defendant’s claims are barred, in whole or in part, by the doctrines of waiver and/or

   ratification.

                                      TENTH SEPARATE DEFENSE

           Any recoverable necessary response costs must be allocated among all parties in

   accordance with those factors recognized under Section 113(f) of CERCLA, 42 U.S.C. §9613(f),



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   and other equitable considerations, including without limitation, Defendant’s recalcitrance and

   intentional conduct.

                                 ELEVENTH SEPARATE DEFENSE

           Some or all costs alleged in the Counterclaim were or are unnecessary and/or inconsistent

   with the National Contingency Plan as set forth at 40 CFR § 300, et seq., and are not “necessary

   costs of response” as required by CERCLA, and therefore cannot be reimbursed in whole or in

   part.

                                 TWELFTH SEPARATE DEFENSE

           CERCLA does not permit an award of attorney’s fees, experts’ fees, consulting fees, costs

   of litigation, oversight or other costs, or interest, as sought by Defendant.

                               THIRTEENTH SEPARATE DEFENSE

           Defendant’s claims are barred, in whole or in part, by the doctrine of release.

                               FOURTEENTH SEPARATE DEFENSE

           Defendant’s recovery is barred by the doctrine of unclean hands.

                                FIFTEENTH SEPARATE DEFENSE

           Defendant’s claims are barred, in whole or in part, and costs claimed, if any, should be

   limited, to the extent any fault, negligence, assumption of risk, or other culpable conduct by

   Defendant caused, proximately caused, and/or contributed to the alleged injuries and damages, or

   to the extent that the doctrines of contributory negligence, comparative fault, avoidable

   consequences, and/or other applicable common-law or statutory doctrines apply.

                                SIXTEENTH SEPARATE DEFENSE

           Defendant’s claims are barred by Defendant’s own, prior material breach of the contracts

   at issue in its claims.



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                              SEVENTEENTH SEPARATE DEFENSE

          Defendant’s claims are barred, in whole or in part, by the doctrine of laches.

                               EIGHTEENTH SEPARATE DEFENSE

          OxyChem adopts by reference all affirmative defenses heretofore and hereafter pleaded by

   the other parties as may be applicable to the facts alleged against OxyChem.

                               NINETEENTH SEPARATE DEFENSE

          Defendant’s claims are barred, in whole or in part, to the extent that the alleged damages

   in the Counterclaim were proximately caused by persons or entities other than OxyChem,

   including intervening and/or superseding acts or omissions.

                                TWENTIETH SEPARATE DEFENSE

          Defendant’s causes of action are barred, in whole or in part, because Defendant would be

   unjustly enriched if it were to prevail on any of the causes of action.

                              TWENTY-FIRST SEPARATE DEFENSE

          Defendant is not entitled to recover from OxyChem because Defendant has not incurred

   costs in excess of its fair, equitable and proportionate share of necessary response costs.

                            TWENTY-SECOND SEPARATE DEFENSE

          OxyChem is not responsible or liable for any acts or omissions undertaken by or at the

   direction of any governmental authority or agency.

                             TWENTY-THIRD SEPARATE DEFENSE

          In the event OxyChem is found to be liable for response costs or response activity costs

   alleged by Defendant, OxyChem cannot be liable for any costs beyond its proportionate share

   because the harms alleged by Defendant are distinct and reasonably capable of division, and




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   because there is a reasonable basis for determining the contribution of each party to the alleged

   harm or harms.

                            TWENTY-FOURTH SEPARATE DEFENSE

          Defendant is not entitled to recover from OxyChem more than its respective fair, equitable,

   and proportionate share, if any, of the necessary response costs allegedly expended by Defendant

   or to otherwise recover from OxyChem more than the amount of such relief, if any, for which

   OxyChem is liable.

                              TWENTY-FIFTH SEPARATE DEFENSE

          To the extent some or all of Defendant’s claims relate to COCs that are present in historic

   fill, such claims are barred in whole or in part under CERCLA.

                              TWENTY-SIXTH SEPARATE DEFENSE

          OxyChem is entitled to a setoff against Defendant’s claims.

                            TWENTY-SEVENTH SEPARATE DEFENSE

          To the extent Defendant seeks relief regarding alleged future costs, Defendant may only

   recover, if at all, for future response costs incurred in connection with an existing legal obligation.

               PLAINTIFF OXYCHEM’S COUNTERCLAIMS AND CROSS-CLAIMS

          For its Counterclaims and Cross-Claims against Defendant Royce Associates

   (“Defendant”), Occidental Chemical Corporation (“OxyChem”) specifically refers to and

   incorporates by reference OxyChem’s Consolidated Counterclaims and Crossclaims Against All

   Defendants, Docket no. 763. For the avoidance of doubt, OxyChem reiterates its enumerated

   counter- and crossclaims in this pleading, as follows:

          1.      In its Complaint (Doc. 1), OxyChem principally limited its claims to those related

   to the Lower 8.3 miles of the Lower Passaic River, based on the EPA’s 2016 Record of Decision



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   proposing a remedy for this portion of the river (see, e.g., Doc. 1 ¶ 16 (“This CERCLA action

   primarily concerns OU2 [Operable Unit 2, the lower 8.3 miles of the Passaic River]”)). OxyChem

   realleges and incorporates the allegations and claims in its Complaint as if fully set forth herein.

          2.      In its Counterclaim, however, Defendant has not limited its claims to OU2, but

   instead has alleged claims relating to the entire 17-mile Lower Passaic River Study Area

   (“LPRSA”), identified by the EPA as Operable Unit 3 (“OU3”). See, e.g., Doc. 738, Counts I

   (CERCLA Section 113 claim for response costs incurred in the LPRSA); Count II ¶ 1 (Declaratory

   Judgment under CERCLA Sections 113 and 107 for alleged releases of Hazardous Substances “to

   the LPRSA”).

          3.      OxyChem reserved “the right to amend to seek additional declaratory or damages

   relief as to other Operable Units” in its Complaint. Doc. 1 ¶ 287. In light of Defendant’s

   broadening of the scope of this litigation to include the entire 17 miles of the LPRSA, OxyChem

   now asserts its counter- and cross-claims under Sections 107, 113, and for declaratory judgment

   relating to liability for response costs for the entire 17 miles of the LPRSA against Defendant and

   all other Defendants whom OxyChem originally sued in this matter.4

                                    HISTORY OF THE DISPUTE

          4.      OxyChem refers to and specifically incorporates by reference Paragraphs 1-44 of

   its original Complaint with regard to the Introduction, History of the Dispute, and Contaminants

   of Concern.




   4
    OxyChem anticipates asserting additional claims against Defendant regarding Newark Bay, but
   OxyChem is barred by the 2007 Standstill Agreement from bringing them until such time as the
   EPA has decided the Newark Bay remedy. Accordingly, under this pleading, OxyChem is limited
   to giving Defendants’ notice that such claims exist, and OxyChem reserves the right to amend its
   pleading when permitted to do so under the Standstill Agreement.
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          5.     In particular, in 2002, EPA expanded the initial six-mile scope of its investigation

   (RM 1 to RM 7, as part of the 1994 RI/FS ACO for the Lower 6) to include the full 17 miles of

   the Lower Passaic River.5

          6.     A group of PRPs eventually organized into the Cooperating Parties Group (CPG).

   Initially, OxyChem, Maxus, and Tierra were members of the CPG. In 2004, the CPG signed a

   settlement agreement with EPA in which CPG members agreed to pay for the RI/FS for the entire

   lower 17-miles of the Lower Passaic River (“2004 RI/FS AOC for the Lower 17”). That settlement

   was amended in 2005 and 2007 to add more parties, so that a total of more than 70 parties were

   obligated to make payments to EPA under this settlement with EPA. OxyChem, through its

   indemnitors Maxus and Tierra, paid significant costs associated with this 2004 RI/FS AOC for the

   Lower 17. The CPG , including OxyChem, Maxus and Tierra, entered into another agreement

   (“2007 RI/FS ASAOC”) with EPA in 2007 regarding the RI/FS for the lower 17 miles of the Lower

   Passaic River, in which these parties agreed to perform the RI/FS work. OxyChem, through its

   indemnitors Maxus and Tierra, paid significant costs associated with the 2007 RI/FS ASAOC until

   the Maxus bankruptcy filing in June 2016. Since that bankruptcy filing, OxyChem has itself

   incurred response costs related to the 2007 RI/FS ASAOC by paying to EPA its oversight costs in

   excess of $1.8 million to date, and OxyChem will continue to incur such costs. OxyChem seeks

   cost recovery and contribution for its payments to EPA pursuant to the 2007 RI/FS ASAOC from

   Defendants in these Counterclaims and Crossclaims.

                                  JURISDICTION AND VENUE




   5
    Record of Decision, Lower 8.3 Miles of the Lower Passaic River Part of the Diamond Alkali
   Superfund Site (Mar. 3, 2016) (“OU2 ROD”) § 2.1.2.
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           7.      OxyChem refers to and specifically incorporates by reference Paragraphs 45-50 of

   its original Complaint with regard to this Court’s jurisdiction and the propriety of venue in this

   District.

                                               PARTIES

           8.      OxyChem refers to and specifically incorporates by reference Paragraphs 51-173

   of its original Complaint with regard to the Parties to this dispute. For the sake of clarity, in the

   claims below, Defendant is referred to in this Counterclaim as Counter-Defendant and all other

   Defendants originally named in OxyChem’s Original Complaint are referred to as Cross-

   Defendants.

               ALLEGATIONS AGAINST INDIVIDUAL PARTIES BY PRIMARY COC

           9.      OxyChem refers to and specifically incorporates by reference Paragraphs 174-270

   of its original Complaint with regard to the allegations against individual Parties by primary COC

   and other responsibility for Hazardous Substances.

                                          COUNT IV
                     (Counterclaim and Cross-claim against all Defendants for
                         CERCLA Cost Recovery Under Section 107(a))

           10.     OxyChem re-alleges and incorporates by reference its responses to Paragraphs 1

   through 9 of the Counterclaim as if fully set forth herein.

           11.     Counter-Defendant and all Cross-Defendants are liable for response costs incurred

   in the entire 17 miles of the LPRSA under CERCLA Section 107(a), 42 U.S.C. § 9607(a), because

   Counter-Defendant and all Cross-Defendants are persons as defined by CERCLA § 601(21), 42

   U.S.C. § 9601(21), who (1) own and operate a portion of the Facility from which there has been a

   release or threatened release of hazardous substances into the Lower Passaic River, including the

   entire 17-mile LPRSA; (2) owned or operated a portion of the Facility at the time hazardous



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   substances were disposed of, resulting in a release or threatened release of hazardous substances

   into the Lower Passaic River, including the entire 17-mile LPRSA; (3) arranged for disposal,

   treatment, or transport for disposal or treatment of hazardous substances, resulting in a release or

   threatened release of hazardous substances into the Lower Passaic River, including the entire 17-

   mile LPRSA; and/or (4) transported hazardous substances to the Facility, having selected it for

   treatment or disposal of such hazardous substance, resulting in a release or threatened release of

   hazardous substances into the Lower Passaic River, including the entire 17-mile LPRSA, as

   described in greater detail above.

          12.     Each release or threatened release of hazardous substances at the Facility as

   described above, has caused and will continue to cause Plaintiff to incur necessary response costs

   consistent with the National Oil and Hazardous Substances Contingency Plan, 40 C.F.R. Part 300

   et seq. (the “NCP”), through the entire reach of the 17-mile LPRSA.

          13.     Under CERCLA Section 107(a)(4)(B), 42 U.S.C. § 9607(a)(4)(B), Plaintiff is

   entitled to cost recovery from Defendant for necessary response costs incurred and to be incurred

   by Plaintiff consistent with the NCP in connection with the LPRSA and for work performed in

   identifying other PRPs for such response costs, whether such costs are incurred directly or as a

   result of any counterclaim or crossclaim filed by any other party in this action.

          WHEREFORE, Plaintiff requests that the Court enter a judgment in its favor and against

   Counter-Defendant and all Cross-Defendants as follows:

          (a) declaring that Counter-Defendant and all Cross-Defendants are jointly and severally

   liable under 42 U.S.C. § 9607(a)(4)(B) for response costs incurred or to be incurred by Plaintiff

   throughout the entire reach of the 17-mile LPRSA as a result of releases or threatened releases of




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   hazardous substances at the Facility, whether such costs are incurred directly or on account of any

   counterclaim or cross-claim by Defendant or Cross-Defendant;

          (b) awarding Plaintiff an amount determined by the Court to satisfy the obligation of

   Counter-Defendant and all Cross-Defendants for all necessary response costs incurred and to be

   incurred by Plaintiff in connection with the LPRSA, including response costs within and outside

   the scope of the 2004 RI/FS AOC for the Lower 17 and the 2007 RI/FS ASAOC, and work

   performed in identifying other PRPs for such response costs;

          (c) awarding Plaintiff prejudgment interest, costs, and attorneys’ and expert fees as allowed

   by law against Counter-Defendant and all Cross-Defendants and such other and further relief as

   the Court determines is just, equitable, and appropriate.

                                          COUNT V
                     (Counterclaim and Cross-claim against all Defendants for
                         CERCLA Cost Recovery Under Section 113(f))

          14.     OxyChem re-alleges and incorporates by reference its responses to Paragraphs 1

   through 13 of the Counterclaim as if fully set forth herein.

          15.     Counter-Defendant and all Cross-Defendants are liable for response costs incurred

   in the entire 17 miles of the LPRSA under CERCLA Section 107(a), 42 U.S.C. § 9607(a), because

   Counter-Defendant and all Cross-Defendants are persons as defined by CERCLA § 601(21), 42

   U.S.C. § 9601(21), who (1) own and operate a portion of the Facility from which there has been a

   release or threatened release of hazardous substances into the Lower Passaic River, including the

   entire 17-mile LPRSA; (2) owned or operated a portion of the Facility at the time hazardous

   substances were disposed of, resulting in a release or threatened release of hazardous substances

   into the Lower Passaic River, including the entire 17-mile LPRSA; (3) arranged for disposal,

   treatment, or transport for disposal or treatment of hazardous substances, resulting in a release or



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   threatened release of hazardous substances into the Lower Passaic River, including the entire 17-

   mile LPRSA; and/or (4) transported hazardous substances to the Facility, having selected it for

   treatment or disposal of such hazardous substance, resulting in a release or threatened release of

   hazardous substances into the Lower Passaic River, including the entire 17-mile LPRSA, as

   described in greater detail above.

          16.     Each release or threatened release of hazardous substances at the Facility as

   described above, has caused and will continue to cause Plaintiff to incur necessary response costs

   consistent with the NCP, through the entire reach of the 17-mile LPRSA.

          17.     Under CERCLA Section 113(f)(1), 42 U.S.C. § 9613(f)(1), Plaintiff is entitled to

   cost recovery from Defendant for necessary response costs incurred and to be incurred by Plaintiff

   consistent with the NCP in connection with the LPRSA and for work performed in identifying

   other PRPs for such response costs, whether such costs are incurred directly or as a result of any

   counterclaim or crossclaim filed by any other party in this action.

          WHEREFORE, Plaintiff requests that the Court enter a judgment in its favor and against

   Counter-Defendant and all Cross-Defendants as follows:

          (a) declaring that Counter-Defendant and all Cross-Defendants are liable under 42 U.S.C.

   § 9613(f)(1) for Defendants’ shares, determined by the Court using such equitable factors as it

   determines are appropriate, of response costs incurred or to be incurred by Plaintiff throughout the

   entire reach of the 17-mile LPRSA as a result of releases or threatened releases of hazardous

   substances at the Facility, whether such costs are incurred directly or on account of any

   counterclaim or cross-claim by Defendant or Cross-Defendant;

          (b) awarding Plaintiff an amount determined by the Court to satisfy the obligation of

   Counter-Defendant and all Cross-Defendants for all necessary response costs incurred and to be



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   incurred by Plaintiff in connection with the LPRSA, including response costs within and outside

   the scope of the 2004 RI/FS AOC for the Lower 17, the 2007 RI/FS ASAOC, and the 2012 RM

   10.9 Removal UAO, and work performed in identifying other PRPs for such response costs;

          (c) awarding Plaintiff prejudgment interest, costs, and attorneys’ and expert fees as allowed

   by law against Counter-Defendant and all Cross-Defendants and such other and further relief as

   the Court determines is just, equitable, and appropriate.

                                          COUNT VI
                     (Counterclaim and Crossclaim against all Defendants for
                               Declaratory Judgment – CERCLA)

          18.     OxyChem re-alleges and incorporates by reference its responses to Paragraphs 1

   through 17 of the Counterclaim as if fully set forth herein.

          19.     Counter-Defendant and all Cross-Defendants are liable under CERCLA Section

   107(a), 42 U.S.C. § 9607(a), because Defendant, and each Cross-Defendant, is a person as defined

   by CERCLA § 601(21), 42 U.S.C. § 9601(21), who (1) owns and operates a portion of the Facility

   from which there has been a release or threatened release of hazardous substances into the Lower

   Passaic River, including the entire 17-mile LPRSA; (2) owned or operated a portion of the Facility

   at the time hazardous substances were disposed of, resulting in a release or threatened release of

   hazardous substances into the Lower Passaic River, including the entire 17-mile LPRSA; (3)

   arranged for disposal, treatment, or transport for disposal or treatment of hazardous substances,

   resulting in a release or threatened release of hazardous substances into the Lower Passaic River,

   including the entire 17-mile LPRSA, and/or (4) transported hazardous substances to the Facility,

   having selected it for treatment or disposal of such hazardous substance, resulting in a release or

   threatened release of hazardous substances into the Lower Passaic River, including the entire 17-

   mile LPRSA, as described in greater detail above.



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          20.     Each release or threatened release of hazardous substances at the Facility, as

   described above, has caused and will continue to cause Plaintiff to incur necessary response costs

   consistent with the NCP throughout the entire 17-mile reach of the LPRSA.

          21.     An actual controversy exists, within the meaning of 28 U.S.C. § 2201 and CERCLA

   Section 113(g)(2), 42 U.S.C. § 9613(g)(2), among Plaintiff, Counter-Defendant, and all Cross-

   Defendants regarding their respective rights and responsibilities for necessary response costs

   incurred and to be incurred by Plaintiff consistent with the NCP in connection with the entire 17-

   mile reach of the LPRSA, and work performed in identifying other PRPs for such response costs,

   and for future necessary response costs to be incurred by Plaintiff in connection with the

   contamination at the Facility, whether such costs are incurred directly or as a result of a

   counterclaim or crossclaim by any other party to this litigation.

          22.     Pursuant to CERCLA Section 113(g)(2), 42 U.S.C. § 9613(g)(2), and 28 U.S.C.

   §§ 2201-2202, Plaintiff is entitled to a declaratory judgment against Counter-Defendant and all

   Cross-Defendants assessing them liable for response costs and damages under CERCLA Section

   107(a), 42 U.S.C. § 9607(a) and/or CERCLA Section 113(f)(1) and (f)(3)(B), 42 U.S.C. §

   9613(f)(1) and (f)(3)(B) in a judgment that will be binding in any subsequent action or actions to

   recover further response costs in connection with the entire 17 miles of the LPRSA, and work

   performed in identifying other PRPs for such response costs.

          WHEREFORE, Plaintiff requests that the Court enter a judgment in its favor and against

   Counter-Defendant and all Cross-Defendants as follows:

          (a) declaring that the Counter-Defendant and all Cross-Defendants are liable for all or their

   proper shares, determined by the Court using such equitable factors as the Court determines are

   appropriate, of the response costs incurred and to be incurred by Plaintiff resulting from releases



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   or threatened releases of hazardous substances at the Facility throughout the entire 17 mile reach

   of the LPRSA;

          (b) declaring that the Court’s judgment on Counter-Defendant and Cross-Defendants’

   liability for response costs and/or damages is binding on any subsequent action or actions to

   recover further response costs or damages in the entire 17-mile reach of the LPRSA;

          (c) awarding Plaintiff an amount determined by the Court to satisfy the obligation of

   Counter-Defendant and all Cross-Defendants for all necessary response costs incurred and to be

   incurred by Plaintiff in connection with the LPRSA, and work performed in identifying other PRPs

   for such response costs, whether such costs are incurred directly or as a result of counterclaims or

   cross-claims by other parties to this litigation; and

          (d) awarding Plaintiff prejudgment interest, costs, and attorneys’ and expert fees against

   Counter-Defendant and all Cross-Defendants as allowed by law, and such other and further relief

   as the Court determines is just, equitable, and appropriate.




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   Dated: September 13, 2019          Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on September 13, 2019, a copy of the Occidental

   Chemical Corporation’s Answer, Additional Defenses, and Consolidated Counterclaims and

   Crossclaims Against All Defendants was served on counsel via electronic filing.


   Dated: September 13, 2019                     By:    /s/ John J. McDermott
                                                         John M. McDermott, Esq.




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